                                  Case 16-15918-RAM                  Doc 1        Filed 04/25/16            Page 1 of 10

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ace's Indoor Shooting Range & Pro Gun Shop, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2105 NW 102 Place
                                  Miami, FL 33172
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.acesindoorshootingrange.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Ace's Indoor Shooting Range & Pro Gun Shop, Inc.                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  0071

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Ace's Indoor Shooting Range & Pro Gun Shop, Inc.                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)

                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                         Waste lead from discharged bullets collected and taken to destruction
                                               What is the hazard?       facilities.
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                                                              2105 NW 102 Place
                                             Where is the property?           Miami, FL, 33172-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?

                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Ace's Indoor Shooting Range & Pro Gun Shop, Inc.                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 25, 2016
                                                  MM / DD / YYYY


                             X   /s/ George de Pina                                                       George de Pina
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jacqueline Calderin, Esq.                                             Date April 25, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jacqueline Calderin, Esq.
                                 Printed name

                                 Ehrenstein Charbonneau Calderin
                                 Firm name

                                 501 Brickell Key Dr
                                 Suite 300
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-722-2002                  Email address


                                 134414
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name Ace's Indoor Shooting Range & Pro Gun Shop, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                Trade Debt                                                                                               $38,588.24
 200 Vessey Street
 10285
 Bank of the West                                                See attached                                          $6,049.92                       $0.00                $6,049.92
 201 N. Civic Drive                                              Composite Exhibit
 Suite 360B                                                      D-1
 Walnut Creek, CA
 94596
 Camfour                                                         Trade Debt                                                                                               $19,066.57
 65 Westfield Ind
 Park Rd
 01085
 Century                                                         Trade Debt                                                                                                 $9,632.40
 International
 430 South Congress
 Avenue
 Suite 1
 Delray Beach, FL
 33445
 Florida Departement                                             Sales Tax                                                                                                $56,210.15
 of Revenue
 P.O. Box 6668
 Tallahassee, FL
 32314-6668
 Geonan Holdings,                                                Unpaid rent                                                                                            $198,000.00
 LLC                                                             (7/1/2015 -
 PO Box 650848                                                   3/1/2016)
 Miami, FL 33265
 George De Pina                                                  Loan                                                                                                   $138,900.00
 PO Box 650848
 Miami, FL 33265
 Grainger                                                        Trade Debt                                                                                                 $2,954.63
 100 Grainger
 Parkway
 Lake Forest, IL
 60045-5201



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Ace's Indoor Shooting Range & Pro Gun Shop, Inc.                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hornady                                Trade Debt                                                                                                                          $2,376.04
 Ammunition
 3625 West Old
 Potash Highway
 68803
 Internal Revenue                       Medicare Tax                                                                                                                      $10,000.00
 Service
 PO Box 21126
 Philadelphia, PA
 19114
 Internal Revenue                       FICA                                                                                                                              $25,000.00
 Service
 PO Box 21126
 Philadelphia, PA
 19114
 Internal Revenue                       Federal                                                                                                                           $19,600.00
 Service                                Withholding
 PO Box 21126                           Employee Tax
 Philadelphia, PA
 19114
 Marlin Leasing                         Ventilation system                                                             $7,356.65                       $0.00                $7,356.65
 300 Fellowship
 Road
 Mount Laurel, NJ
 08054
 Nancy de Pina                                                                                                      $124,500.00                        $0.00            $124,500.00
 c/o Chastity Perez,   cperez@ppolaw.co
 Esq.                  m
 Pacheci Oerez Ortiz,
 PA
 2121 SW 37th
 Avenue, Suite 200
 Miami, FL
 33145-1711
 National Best Sports                   Trade Debt                                                                                                                      $197,163.57
 4350 Fossil Creek
 Boulevard
 Fort Worth, TX
 76137
 National Funding,                      See attached                                                                 $19,227.72                        $0.00              $19,227.72
 Inc.                                   Composite Exhibit
 9820 Town Centre                       D-2
 Drive
 Suite 200
 San Diego, CA
 92121
 Office Depot                           Trade Debt                                                                                                                          $2,566.47
 6600 N Military Trail
 Boca Raton, FL
 33496
 POF                                    Trade Debt                                                                                                                          $3,949.96
 23011 N 16th Lane
 Phoenix, AZ 85027

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Ace's Indoor Shooting Range & Pro Gun Shop, Inc.                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Trugloo, Inc.                                                   Trade Debt                                                                                                 $2,846.45
 525 International
 Parkway
 Richardson, TX
 75081
 Visa First Bank Card                                            Trade Debt                                                                                               $15,193.85
 c/o First national
 Bank of Omaha
 PO Box 2340
 Omaha, NE 68103




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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            American Express
            200 Vessey Street
             10285


            Bank of the West
            201 N. Civic Drive
            Suite 360B
            Walnut Creek, CA 94596


            Camfour
            65 Westfield Ind Park Rd
             01085


            Century International
            430 South Congress Avenue
            Suite 1
            Delray Beach, FL 33445


            Florida Departement of Revenue
            P.O. Box 6668
            Tallahassee, FL 32314-6668


            Florida Department of Revenue
            5050 W Tennessee Street
            Tallahassee, FL 32399-0100


            Geonan Holdings, LLC
            PO Box 650848
            Miami, FL 33265


            George De Pina
            PO Box 650848
            Miami, FL 33265


            George de Pina
            10631 N. Kendall Drive
            Suite 220
            Miami, FL 33176


            Grainger
            100 Grainger Parkway
            Lake Forest, IL 60045-5201
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        Hornady Ammunition
        3625 West Old Potash Highway
         68803


        Internal Revenue Service
        PO Box 21126
        Philadelphia, PA 19114


        Internal Revenue Service
        PO Box 7346
        Philadelphia, PA 19101-7346


        Internal Revenue Service
        7850 SW 6 Court
        Mail Stop 5730
        Fort Lauderdale, FL 33324


        Kriss Newco USA
        565 W Lambert Rd Suite F
        Brea, CA 92821-3901


        Legacy Sports
        4750 Longley Lane #209
        Reno, NV 89502


        Marlin Leasing
        300 Fellowship Road
        Mount Laurel, NJ 08054


        Miami Dade County Tax Collector
        140 W. Flagler St
        #1403
        Miami, FL 33130-1561


        Nancy de Pina
        c/o Chastity Perez, Esq.
        Pacheci Oerez Ortiz, PA
        2121 SW 37th Avenue, Suite 200
        Miami, FL 33145-1711


        Nancy de Pina
        10631 N. Kendall Drive
        Suite 220
        Miami, FL 33176
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        National Best Sports
        4350 Fossil Creek Boulevard
        Fort Worth, TX 76137


        National Funding, Inc.
        9820 Town Centre Drive
        Suite 200
        San Diego, CA 92121


        Office Depot
        6600 N Military Trail
        Boca Raton, FL 33496


        POF
        23011 N 16th Lane
        Phoenix, AZ 85027


        Progressive Waste
        3840 NW 37th Court
        Miami, FL 33142


        The Allen Co.
        525 Burbank Street
        Broomfield, CO 80020


        Total Bank
        9690 NW 41st Street
        Miami, FL 33178


        TotalBank & AISOA
        2720 Coral Way
        Miami, FL 33145


        Trugloo, Inc.
        525 International Parkway
        Richardson, TX 75081


        Visa First Bank Card
        c/o First national Bank of Omaha
        PO Box 2340
        Omaha, NE 68103
